






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00874-CV

NO. 03-12-00415-CV






Bryan Berger and Lori Berger, Appellants


v.


Tony Flores, Jr., Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF COMAL COUNTY

NOS. 2005-CV-0548 &amp; 2010-CV-0445

HONORABLE CHARLES A. STEPHENS II, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Bryan Berger and Lori Berger filed motions to consolidate their two appeals in
the&nbsp;above-referenced causes.  In cause number 03-10-00874-CV, the Bergers appealed from the
trial&nbsp;court's order granting summary judgment in favor of Tony Flores, Jr. on the Bergers' claims,
which were severed from Flores's counterclaim for attorney's fees so that the Bergers might
perfect&nbsp;their appeal.  In cause number 03-12-00415-CV, the Bergers appealed from the trial court's
subsequent order in favor of Flores on his counterclaim.

	The Court grants the Bergers' motions and consolidates their two appeals
in&nbsp;the&nbsp;above-referenced causes.  The issues, records, and documents filed in cause number
03-10-00874-CV are consolidated into cause number 03-12-00415-CV.  The consolidated appeal
shall proceed under cause number 03-12-00415-CV, and cause number 03-10-00874-CV is
dismissed.  See Livingston v. Arrington, Nos. 03-11-00197-CV &amp; 03-11-00266-CV, 2011 Tex. App.
LEXIS 4421, at *1 (Tex. App. --Austin June 10, 2011, no pet.) (mem. op) (addressing similar
consolidation and dismissal procedure).  Briefing will proceed in accordance with the Texas Rules
of Appellate Procedure and the October 10, 2012 extension previously granted to the Bergers.  The
parties are instructed to notify the Court of any further adjustment necessary to the briefing schedule.



					__________________________________________

					Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

03-10-00874-CV	Dismissed

03-12-00415-CV	Consolidated

Filed:   September 28, 2012


